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                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 UNITED STATES OF AMERICA
                                                        Case No. 19-CR-565

                       v.
                                                        Honorable Harry D. Leinenweber
 EDWARD LEE FILER, ROBERT JOSEPH
 GEREG, and PAUL MICHAEL KELLY



                    MOTION FOR LEAVE TO WITHDRAW ATTORNEY

       Pursuant to Local Rule 83.17, attorney Valarie Hays of Riley Safer Holmes & Cancila LLP

respectfully moves to withdraw as one of the attorneys for Defendant Edward Filer. Mr. Filer will

continue to be represented by other attorneys from Riley Safer Holmes & Cancila LLP.


Dated: July 13, 2021                            Respectfully submitted,

                                                 /s/ Valarie Hays
                                                 Valarie Hays
                                                 RILEY SAFER HOLMES & CANCILA LLP
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                                                 Attorney for Edward Lee Filer
   Case: 1:19-cr-00565 Document #: 175 Filed: 07/13/21 Page 2 of 2 PageID #:1846




                                CERTIFICATE OF SERVICE
       I hereby certify that on July 13, 2021 I caused the foregoing document to be electronically

filed using the CM/ECF system, which will send notice of this filing to all counsel of record.


                                                    /s/ Valarie Hays




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